Case: 1:19-cr-00077 Document #: 48 Filed: 01/24/20 Page 1 of 4 PagelD #:495

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
UNITED STATES OF AMERICA )
) No. 19 CR 77
v. )
) Judge Elaine E. Bucklo
MICHAEL LIEDTKE )

DEFENDANT MICHAEL LIEDTKE’S SENTENCING MEMORANDUM

Defendant Michael Liedtke, by and through his counsel, respectfully submits this
Sentencing Memorandum for the Court to consider relative to Michael’s sentencing.

It would be an understatement to state to the Court that this case has been profoundly
difficult for Michael. He is consumed with guilt and remorse, for he deeply regrets his mistakes
in judgement for his past actions that have led him to this moment in his life. Despite Michael’s
lapse in judgment, he respectfully asks this Court to consider the mitigating aspects of his life
and circumstances relative to the offense to which he has entered a plea of guilty to.

I. Michael’s Contrition

First of all, Michael is extremely sorry and apologizes for his misdeeds in

connection to any harm he has caused to any and all of the victims in this case. He regrets that
he lost sight of who he is and was as a person, and that he did not obtain the necessary
counseling that he undoubtedly needed in the past to address the problems with his sexual
desires. This regret and sorrow that Michael has far exceeds the embarrassment that he has
brought upon himself, his friends, and his family. It is without a doubt that Michael has accepted
responsibility for his conduct, and is ready to receive and respect whatever sentence this Court

deems appropriate.
Case: 1:19-cr-00077 Document #: 48 Filed: 01/24/20 Page 2 of 4 PagelD #:496

I. Personal Life
Throughout my representation of Michael, I have gotten to know much
about him, his mindset, and how his family and friends perceive him. It has been very clear to
me, as indicated by the letters that these people have written for him, that Michael is deeply
cared for. He has earned respect and admiration from his colleagues, family members, and
lifelong friends alike, due to his efforts to be there for them whenever they needed help in their
lives.

Michael’s professional and personal life has been punctuated with his efforts to try and be
a positive and contributing member of society. While in college at Western Illinois University,
Michael studied criminal justice and law enforcement, as he had a passion to try and make a
positive difference in people’s lives. This is also evident in that he went on to become employed
with the Kane County Department of Corrections for approximately three years. In fact, I would
respectfully suggest to the Court that a review of Michael’s life would reveal an individual
whom had never previously been arrested, and by many accounts had lead an exemplary life.
This notion certainly appears to be a recurring theme in Michael’s life, according to those who
know him well.

I also believe it important to note that Michael fully understands the gravity of his
misconduct. Since the day that Michael was arrested, he has expressed nothing but regret for his
actions, a determined willingness to seek help to address his behavior, and he has renewed his
relationship with God. In fact, he even has been leading a bible group while he has been
incarcerated during the pendency of this case. Simply put, it has become quite clear that Michael
is on a mission to right his wrongs to the extent that he is able to, and to turn his life around for

the better.
Case: 1:19-cr-00077 Document #: 48 Filed: 01/24/20 Page 3 of 4 PagelD #:497

Conclusion
Michael truly feels profound remorse and regret for his actions in this case, and
accordingly, is ready to accept the consequences for it. He knows that what he did was wrong,
and is truly interested in receiving help in the form of counseling, and wants to become a better
man. Since he has been arrested, he has demonstrated in every way that he is able to so.
For the foregoing reasons, the defense respectfully requests that the Court impose the

mandatory minimum sentence of five years in this case.

Respectfully submitted,

Kendall D. Hartsfield

Hartsfield Law Offices

Counsel for Michael Liedtke

18W140 Butterfield Road, Suite 1500
Oakbrook Terrace, IL 60181
312-345-1700

312-284-6427 (facsimile)
Case: 1:19-cr-00077 Document #: 48 Filed: 01/24/20 Page 4 of 4 PagelD #:498

CERTIFICATE OF SERVICE

I, Kendall D. Hartsfield, hereby certify that on January 24, 2020, I caused a copy of the
foregoing to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois, using the CM/ECF system, which will send notification of such
filing to all attorneys of record.
